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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          GREAT FALLS DIVISION




 UNITED STATES OF AMERICA,
                                                   CR 06-80-GF-SPW-JTJ
                     Plaintiff,

 vs.                                               ORDER


 SEASON HOPE EAGLEMAN,

                     Defendant.


       For the reasons stated on the record, SEASON HOPE EAGLEMAN is

hereby released from the custody of the U.S. Marshals Service.

       DATED this          day of October, 2020.


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                                          ^SUSAN P. WATTERS
                                           U.S. DISTRICT JUDGE
